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                                        ORDERED.
         Dated: June 23, 2021




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

In re:

QUAN DINH TRAN,                                        Case No.: 8:20-bk-05750-CPM
                                                       Chapter 7
          Debtor.
                                               /

  ORDER GRANTING UNOPPOSED MOTION TO CONTINUE JUNE 28 HEARINGS

          THIS MATTER came up for consideration on Creditor Q3 Investments Recovery Vehicle,

LLC’s Unopposed Motion to Continue June 28 Hearings [Doc. 167] (the “Motion”). The Court

finds good cause to grant the relief requested, therefore, it is

          ORDERED:

          1.     The Motion is hereby GRANTED.

          2.     The hearing set for June 28, 2021, on Creditor’s Objection to Debtor’s Claim of

Exemptions [Doc. 131] and Debtor’s Response to Objection [Doc. 140] is hereby continued to
August 2, 2021 at 10:00 a.m.

Attorney Paul Thanasides is directed to serve a copy of this order on interested parties who
are non-CM/ECF users and file a proof of service within 3 days of entry of the order.
